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                         UNITED STATES DISTRICT COURT
                                               for the
                                   District of Massachusetts


 JOSE MARIA DECASTRO, an individual                ) Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        ) NOTICE OF SUPPLEMENTAL
                                                   ) AUTHORITY
 v.                                                )
                                                   )
 JOSHUA ABRAMS, an individual, et al.,             )
                                                   )
 Defendants.                                       )
 ____________________________________

                            NOTICE OF SUPPLEMENTAL AUTHORITY


      Plaintiff Jose DeCastro (“Plaintiff” or “I”), hereby notifies this court and all parties that

since this motion was filed, that additional authorities have been established from which to cite

and support this motion. Pursuant to Federal Rules of Civil Procedure 32.1 and the established

tradition of allowing supplemental authorities by this court, I do offer as follows:

                                    POINTS AND AUTHORITIES

a. late filings are allowed nunc pro tunc due to mistake without requesting leave, regardless

                of the Federal Rules of Civil Procedure and SCOTUS decsions

      See the order from February 3, 2023, in DeCastro v. Abrams, et al. No. 1:22-cv-11421

(ADB)(Ma.), where the judge has ordered that, contrary to the U.S. Supreme Court decisions and

the Fed R. Civ. P. declaring that the court maintains no discretion, that a circuit judge does

indeed have discretion to allow late filed motion practice, even when leave was not motioned

prior. The order further provides that the excusable neglect test is provided simply by naming it.

I include a copy of the unpublished order by reference to ECF No 112 in this case.
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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: February 4, 2023                           Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
                                                  1258 Franklin St.
                                                  Santa Monica, CA 90404
                                                  chille@situationcreator.com
                                                  (310) 963-2445
                                                  Pro Se

                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                  /s/ Jose DeCastro




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